UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CONVERGEN ENERGY LLC, L’ANSE WARDEN
ELECTRIC COMPANY, LLC, EUROENERGY
BIOGAS LATVIA LIMITED, and LIBRA CAPITAL                      Index No. 1:20-cv-03746 (LJL)
US, INC.
                         Plaintiffs,

-against-

STEVEN J. BROOKS, NIANTICVISTA ENERGY
LLC, GREGORY MERLE, RIVERVIEW ENERGY
CORPORATION, DANIEL ESCANDON GARCIA,
RAMON URIARTE INCHAUSTI, CHIPPER
INVESTMENT SCR, SA, URINCHA SL, THEODORE
JOHN HANSEN, BRIAN R. MIKKELSON, and
CONVERGEN ENERGY WI, LLC,

                                  Defendants.



                          DECLARATION OF BERT DIAZ
            IN SUPPORT OF PLAINTIFFS’ MOTION TO STAY ARBITRATION

       I, Bert Diaz, declare as follows:

      1.       I am General Counsel at Libra Group. I make this declaration based on my own

personal knowledge, and, if called upon to do so, could and would testify competently thereto.

      2.       In opposing the motion to stay, certain of the defendants contend that I drafted and

am therefore responsible for the Acquisition Agreement covering the sale of Convergen Energy

WI, LLC (“CEW”) to Nianticvista Energy LLC (“Niantic”). This is wholly inaccurate and

misleading.

      3.       Counsel for Niantic sent Libra Group a draft Acquisition Agreement, which I

reviewed. I did not negotiate the comercial terms and I had very little input into the Acquisition

Agreement overall.
       4.       I also had little input in the Supply Agreement between CEW and L’Anse Warden

Electric Company, LLC (“L’Anse”). CEW had in its possession a draft pellet supply agreement

with a third party from 2010 (the “Template”). I did not draft the Template; I merely had it in my

electronic files. The Template came with an arbitration provision. I did not write it or modify that

provision, except as to reflect edits suggested by defendants Brooks and Hansen.

       5.       I generally do not get involved in drafting agreements relating to the operations of

subsidiaries because I do not have the technical expertise or regular contact with the subsidiaries.

In connection with the sale of CEW to Niantic, I was asked to provide a pellet supply agreement.

Despite my inclination not to assist with an operational contract, I agreed to help because the

Supply Agreement was part of the Acquisition Agreement, which was an asset sale. In response,

on November 20, 2019, I emailed the Template to defendant Steve Brooks. On November 22,

2019, Brooks provided substantial edits from him and from defendant Ted Hansen. The edits

referred to pellet quantity, pellet energy content, pellet specifications, pellet price, transfer of title,

quality determination, pellet samples, shipping schedule, payment terms, and a force majeure

clause.

       6.       I incorporated all of Brooks and Hansen’s edits into an initial draft and sent it to

Brooks on November 26, 2019. The email exchanges and redline comparison of the intial draft

reflecting all of Brooks and Hansen’s edits to the Template are attached as Exhibit 1. The draft

reflects almost no edits of my own to the Template.

       7.       On February 3, 2020, after Libra Group began to suspect Brooks was secretly on

both sides of the transaction, Brooks was confronted in a recorded meeting at Libra Group’s New

York headquarters where he confessed to leading the fraudulent scheme.




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       8.      Brooks provided no indication to me that he had a personal interest in the

transaction. On the contrary, Brooks represented that Niantic had made an unsolicted offer. Libra

Group would never have relied on Brooks to negotiate the price and contract terms for the

transaction if this had been disclosed.

       I declare under the penalty of perjury that the foregoing is, to the best of my knowledge

and belief, true and correct.


Dated: New York, New York
       July 14, 2020


                                                           /s/ Bert Diaz
                                                           Bert Diaz




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